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                                                                        No. l6-1510
                                                                    Filed: June 30,2017                              FILED
 :t,f   *r.* ** ** * *** * *,t * * * 'i:i*:t +* **** * *** *! ** {. ** *
                                                                                                                   JUN 3 0 20t7
                                                                                                                 U.S. COURT OF
                                                                                                                FEDERAL CI-AIMS
 WILLIAM H. MORGAN,

                Plaintiff, pro se,


                                                                                                 28 U.S.C. g 1491 (Tucker Act
                                                                                                        Jurisdiction);
                                                                                                 Rules ofthe United States Court of
                                                                                                        Federal Claims C'RCFC)
                                                                                                        12(bX I ) (Subject Matter
THE T]NITED STATES,
                                                                                                        Jurisdiction), I 2(b)(6) (Failure
                                                                                                        To State A Claim Upon Which
                Defendant.
                                                                                                        Relief Can Be Granted), 4l(b)
                                                                                                        (Failure to Prosecute).
,l'   * :f * * * * * *,t * * + :! * * *,t,* * * * * * + * * * * * * *   {. :t   *+***   *

William H. Morgan, La Pine, Oregon, Plaintiff, pro                                          se   .


Isaac B. Rosenberg, united states Department of Justice,                                               civil Division, washington, D.c.,
Counsel for the Government.

                                      MEMORANDUM OPINION AND FINAL ORDER

BRADEN, ChiefJudge.

I.             RELEVANTFACTUALBACKGROUND.I

       on october 28,2015, the Klamath county circuit court of oregon, convicted william H.
Morgan of resisting anest and contempt of court. compl. App. at Ez-sz. Mr. Morgan was
sentenced to twelve months of probation and required to pay a $500 fine. compl. app.
                                                                                     ai Ez-El.

       Mr. Morgan was scheduled 1o be released from probation on october 11,2016. compl. at
2*3; compl. App. at E2-E3. on November 7,2016, Mr. Morgan called the southem oregon



               I
        The relevant facts discussed herein are derived from the November 14,2016 Complaint
("Compl.") and attached Appendices (..Compl. App. A_E',).




                                                                                                      ?E1? 1q50 0Bn0 13qb 0e3a
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Monitoring Services, LLC2 to request written confirmation that he completed probation, without
any violations. Compl. App. El1. The SOMS informed Mr. Morgan that he successfully
completed probation on October 11,2016, however, he did not receive written confirmation.
Compl. at 2-3; Compl. App. at El l.

II.         PROCEDURALHISTORY.

       on November 14,2016, Mr. Morgan ("Plaintiff') filed a complaint in the united states
court of Federal claims against the United states, oregon Supreme court, oregon court of
Appeals, Klamath county circuit court, Klamath county Defenders office, Klamath county
District Attomey, and the SOMS. Compl. at       1.

        The November 14,2016 Complaint alleges that the Govemment:

              (1) violated the Federal Tort Claims Act, 28 U.S.C. $$ 2671-80, by acting negligently
                  and intentionally inflicting emotional distress on plaintiff, Compl. at 2_3;

              (2) violated Plaintiffs constitutional rights, including the Fourth Amendment, Eighth
                  Amendment, Fifth and Fourteenth Amendments' Due process clauses, and Fifth
                  Amendment's Double Jeopardy Clause, Compl. at2,4,5,6;

              (3) violated Plaintiff s rights under the Civil Rights Act of 1964 and the Americans
                  with Disabilities Act ("ADA"), 42 U.S.C. S 12101, Compl. at 1,3, 4,6;

              (4) violated the Lanham Act, 15 U.S.C. g 1051, the Hobbs Act, lS U.S.C. g l95l,and
                  the Racketeer Influenced and Comrpt Organizations Act (,,RICO Act"i, lg U.S.C
                  $$ 1961-68, Compl. at2, 4,5,6,7;

              (5) violated the Fifth Amendment Takings clause, by taking the Morgan family
                  property, Compl. at 6; and

              (6) breached various contracts and waranties under the Contracts Dispute act
                  C'CDA), 41 U.S.C. gg 7101-09, Compt. at 4, 5, 6.
        The November 14,2016 Complaint also requests the United States Court of Federal Claims
to reconsider a different complaint, filed on August 2,2016.3 Compl. at 6.




      . ' The Southem oregon Monitoring Services, LLC ("soMs') is a bench probation
monitoring service for Klamath County Court. The SOMS monitors defendants to ensure they
complete bench probation conditions, e.g. treatment, community service, and payment of
                                                                                       court
fines and fees.

            Although the November 14,2016 complaint does not specify the case name or number
in which the August 2,2016 complaint *as fiI"d, the court believes the    referenced case is
Morgan v. united states, No. 16-937. on october 24,2016, the united States Court of Federal
claims dismissed Morgan, No. 16-937, pursuant to Rules of the united states court of Federal
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       On November 14,2016, Plaintiff also filed a Motion For Leave To Proceed In Forma
 Pauperis. ECF No. 1. On December 16,2016, the court granted Plaintiff s motion. ECF No. 6.

        On January 13,2017,the Govemment filed a Motion To Dismiss     ("Gov't Mot."), pursuant
to RCFCF 12(bX1) and 12(bX6). ECF No. 7. On February 22,2017, nine days after plaintiffs
response was due, the court issued a Show Cause Order, to ascertain why this case should not be
dismissed for failure to prosecute, pursuant to RCFC 41(b). ECF No. 8.

        On March 31, 2017, Plaintiff filed a Response to the February 22,2017 Show Cause Order,
but did not respond to the January 13,2017 Motion To Dismiss. ECF No. 9.

        On April 4, 2017,the court issued a Scheduling Order directing Plaintiffto file a Response
to the January 13,2017 Motion To Dismiss by April lS,20lj. ECF No. 10.

        On May 2,2017, Plaintiff filed a Response to the January 13,2017 Motion To Dismiss
("P1. Resp."). ECFNo. 12. On May 18,201"1, the Govemment filed a Reply (,,Gov't Reply,,).
ECFNo.    15.

m.      DISCUSSION.

        A.      Jurisdiction.

        The United States Court of Federal Claims has jurisdiction under the Tucker Act, 28 U.S.C.
$  1491'  "to render judgment upon any claim against the United States founded either upon the
constitution, or any Act of congress or any regulation of an executive department. or uDon anv
express or implied contract with the United States. or lor liquidated or uniiquidated damages
                                                                                                 in
cases not sounding in tort." 28u.s.c. g lagl(a\1). The Tucker Act, however, is..a
                                                                                     iurisdictional
statute; it does not create any substantive right enforceable against the United Stares for money
                .
damages . . . [T]he Act merely confers jurisdiction upon
                                                              [the United States Court of Federal
claims] whenever the substantive right exists." united siates v. Testan, 424 u.s. 392, 3gg (lg7 6).

        To pursue a substantive right under the Tucker Act, a plaintiff must identify and plead an
 independent contractual relationship, Constitutional provision, federal statute, an-d,/or
                                                                                           executive
agercy regulation that provides a substantive right to money damages. See Todd v. United States,
386 F.3d 1091, 1094 (Fed. Cir. 2004) ("[J]urisdiction under the Tuiker Act requires the liuganr
                                                                                                   to
idenlif! a substantive right for money damages against the United States ."p*ut" fiom the Tucker
Act[.]"); see also Fisher v. (Jnited states,4O2 F.3d 1167,1112 (Fed. cir. 2005) (en banc) (,,The
TuckerAct... does not create a substantive cause ofaction; . . . a plaintiff must idintify a separate
source of substantive law that creates the right to money damages. . .     .  [T]hat source must be
'money-mandating'"'). Specifically, a plaintiff must demonstrate that the source of subsranuve
law upon which he relies "can fairly be interpreted as mandating compensation by the Federal
Government[.]" Testan, 424 u.S. at 400. And, the plaintiff bears the burden oi establishins


claims ("RCFC')     12(bxl). ECF No. 13. on November 7,2016, Morgan, No. 16-937 was
appealed to the united states court ofAppeals for the Federal circuit. ECFNo.
                                                                                16. on April 5,
2017, the United States Court of Appeals for the Federal Circuit affirmed the court,s
                                                                                      dismissal.
ECF No. 20.
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jurisdiction by a preponderance of the evidence. See Reynolds v. Army & Air Force Exch. Serv.,
 846F.2d,746,748 (Fed. Cir. 1988) ("[O]nce the [trial] courr's subject matter jurisdiction [is] put
in question . . . . [the plaintiff] bears the burden of establishing subject matter jurisdiction by a
preponderance of the evidence.").

        B,      Standard Of Review For Pra Se Litigants.
        Pro se plaintiffs' pleadings are held to a less stringent standard than those of litigants
represented by counsel. See Haines v. Kerner,404 U.S. 519, 520 (1972) (holding that pro se
complaints, "however inartfully pleaded," are held to "less stringent standards than formal
pleadings drafted by lawyers"). The court traditionally examines the record "to see if pro se]
                                                                                       [a
plaintiff has a cause ofaction somewhere displayed." Ruderer v. united states,412F.2d 12g5,,
1292(Ct. Cl. 1969).

        C.      Standard Of Review For Motion To Dismiss, pursuant to RCFC             l2(bxl).
        A challenge to the United States Court ofFederal Claims' "general power to adjudicate in
specific areas of substantive law. . . is properly raised by a [Rule] l2(b)(l) motionf.]', palmer v.
unitedstates,168F.3dl3l0, 1313(Fed.cir.'t999);seealsoRCFCl2(bX1)("Evliydefenseto
a claim for relief in any pleading must be asserted in the responsive pleading. . . . But a party may
assert the following defenses by motion: (1) lack of subject-matter jurisdiction[.]").

       When considering whether to dismiss an action for lack of subject matter jurisdiction, ,.a
court must accept as true all undisputed facts asserted in the plaintiffls complaint and draw all
reasonable inferences in favor ofthe plaintiff." Trusted Integration, Inc.v. United States,65g F.3d
1159, 1163 (Fed. Cir. 201l).

        D.     Standard Of Review For Motion To Dismiss, pursuant To RCFC l2(bx6).
        A claim is subject to dismissal under RCFC 12(bX6), if it does not provide a basis for the
court to grant relief. ,see Bell Atl. corp. v. Twombly,550 u.s. 544, ss5-56 (2007) (,.[A well-
pleaded complaint] requires more than labels and conclusions, and a formulaic recitatlon
                                                                                               of the
elements ofa cause of action will not do. Factual allegations must be enough to raise
                                                                                           a right of
relief above the speculative level, on the assumption that all the allegationsin the complaint are
true (even if doubtful in facQ." (intemal citations omitted)); see also iirdroy r. united states,295
F.3d' 1252' 1257 (Fed. Cir.2002) ("A motion to dismiss. . . for failure to state a claim
                                                                                         upon which
relief can be granted is appropriate when the facts asserted by the claimant do not entitie him to
                                                                                                   a
legal remedy.").

        A complaint must "contain sufficient factual matter, accepted as true, to 'state a claim to
reliefthatisplausibleonitsface."'Ashqoftv. Iqbal,556rJ.s.66,,679(2009)(quotingTwombly,
550 U.S. at 570). The allegations contained in a complaint also must indicate to thJ court
                                                                                                that
there is "more than a sheer possibility that a defendani has acted unla'*fully. 1d. .,Threadbare
recitals of the elements of a cause of action, supported by mere conclusory statements, do
                                                                                                 not
suffice." 1d. To determine whether a complaini itates a plausible claim foi relief, a coun must
engage in a context-specific analysis and "draw on itsjudicial experience and common
                                                                                        sense.,, 1/.
ar 678-79.
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         E.     The Government's January 13,2017 Motion To Dismiss The November 14,
                2016 Complaint, Pursuant To RCFC l2(bXf) And 12(b)(6).

                1.      The Government's Argument.
         The Govemment argues that claims in the Novemb er 14, 2016 Complaint alleging
 wrongdoing by the oregon Supreme court, oregon court of Appeals, Klamath county circuit
 court, Klamath county Defenders office, Klamath county District Attorney, and the soMS, must
 be dismissed, because the United States Court ofFederal Claims only has jurisdiction to adjudicate
 claims against the United States govemment; claims against private parties and state govemments
 and their employees, cannot be adjudicated by the court. Gov't Mot. at 7.

          The Govemment also points out that the court does not have jwisdiction to adjudicate the
 tort claims alleged in the November 14,2016 Complaint, because neither the Federal Tort Claims
 Act nor the Oregon Tort Claims Act confer jurisdiction on the court. Gov't Mot. at 9. Likewise,
 the Fourth Amendment, Eight Amendment, Due process clause, and Double Jeopardy clause
 claims alleged in the November 14,2016 Complaint must be dismissed, because thoie piovisions
 are not money-mandating. Gov't Mot. at l0-l 1 .

        In addition, the court does not have jurisdiction over statutory civil rights claims. Gov't
Mot' at 10 (citing Marlin v. IJnited States,63 Fed. Cl. 475,476 (2005) (holding-that staturory civil
rights claims reside exclusively with the district courts)). Nor does the court have iurisdiction to
adjudicate the November 14,2016 complaint's Lanham Act, Hobbs Acr, and RICb Act claims,
because those statutes either grant exclusive jurisdiction to the United States district courts or
                                                                                                   are
criminal statutes. Gov't Mot. at 10. Finally, the court does not have jurisdiction to re-adjudicate
Morgan, No. 16-937, because that case is on appeal before the United States Court ofAppeals for
the Federal Circuit. Gov't Mot. at 12.

        In addition, the Govemment argues that the November 14, 2016 complaint's Fifth
Amendment Takings Clause and Breach-of-Contract claims fail to allege facts sufficient to state
                                                                                                   a
claim for reliefabove the speculative level and should be dismissed, p-ursuant to RcFc l2(bX6).
Gov't Mot. at 11-12. Regarding the Takings clause claim, the November 14,2016 complaint
does not identify a property interest that was taken or allege any other specific
                                                                                  facts to supporr a
takings claim. Gov't Mot. at 8. Regarding the Breach-of-Contract claim, the November
                                                                                            14,2016
Complaint does not allege any contractual agreement between Plaintiff and the United
                                                                                             States.
Gov't Mot. at 8.

               2.      The plaintifps Response.
        Plaintiff responds that the court has jurisdiction to adjudicate claims against the state
_
Oregon, because Oregon is an agent of the United States. Pi. Resp. at Z. In'addition, plaintiff
                                                                                                  of
raises a new claim, alleging that the United States Court of Federal'Claims
                                                                              is conspirin! with the
Democratic National Committee C,DNC,) to deny his claims. pl. Resp. at 3.

               3.      The Government's Reply.
        The Govemment replies that, as a matter of law, the state of oregon is not an
      _                                                                                 agent of the
United States for the purpose of esta.blishing Tucker Acr jurisdiction. dov,t Repty
stebbins v. united states,l05 Fed. cl. gt, 84-85 (2012) ( ..plaintiff cannot recoveiin
                                                                                      at i-i iciting
                                                                                       the court of
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 Federal Claims simply by arguing that the United States is responsible, under the doctrine of
 respondeat superior[.]")). And, Plaintiffs new allegation that the court is conspiring with the DNC
 to deny his claims is not properly before the court, because Plaintiff may not allege new claims or
 amend his November 14, 2016 complaint in a response to a motion to dismiss. Gov't Reply at 2.
 (quoting Driessen v. united states, 116 Fed. c|.33,44 n.l0 (2014) (stating that "[i]t is generally
 improper for a party to raise new claims not included in its complaint in an opposition to a motion
 to dismiss.")). In the alternative, the allegation should be dismissed, because it sounds in tort and
 is frivolous. Gov't Reply at 2.

                  4.     The Court's Resolution.
                         a.      The United States Court Of Federal Claims Does Not Have
                                 Jurisdiction To Adjudicate Claims Against States And Their
                                 Agencies And Officials.
        The November 14,2016 Complaint alleges that agencies and officials of Oregon violated
 Plaintiffs rights. The United   States Court of Federal Claims, however, only has juiisdiction to
adjudicate claims made against the united states. see united states v. sherwood,'312 u.s. 5g4,
588 (1941) ("[The court's] jurisdiction is confined to the rendition of money judgments in suit
brought for that relief against the United States . . . and if the relief sought is agai"-st others than
the united states the suit as to them must be ignored as beyond the jurisdiction ofthe court.,,).

       For these reasons, the court has detcrmined that it does not have jurisdiction to adjudicate
the November 14,2016 Complaint,s claims against Oregon, its agencies, or officials.

                         b.      The United States Court Of Federal Claims Does Not Have
                                 Jurisdiction To Adjudicate Tort Claims.
         The November 14, 2016 Complaint's negligence claim and intentional infliction of
 emotional distress claim sound in :ort. see 24 Stuart M. Speiser et al., AMERICAN
                                                                                                  LAw oF
 TORTS $ 9:1 (2017) (explaining that negligence is an extensive part of tort law);
                                                                                             44 Stuart M.
 Speiser et al., AMERICAN LAw oF TORTS g 16:16 (2016) (describing
                                                                                   intentional infliction of
 emotional distress as a tort). The United States Court of Federal Claims]however,
                                                                                             does not have
jurisdiction to adjudicate cases sounding in tort. see 28
                                                               u.s.c. g lagl(a)(1) 1..The united states
court of Federal claims shall have jurisdiction to render judgment                  ;"y claim against the
United States . . . in cases not so-unding in rorr ." {emphasis aide-cl)); see"d;
                                                                               irso Kiene Corp.'u. unirca
         sos u.s. 200, 214 (1993) ("[T]ort cases are outside the jurisdiction of the
{.ot.r"'                                                                                  court ofFederal
Claims.").

 - For these reasons, the court has determined that it does not have jurisdiction to adjudicate
the November 14, 2016 Complaint's negligence claim or intentionai infliction
                                                                                  of emotional
distress claim.

                        c.      The United States Court Of Federal Claims Does Not Have
                                Jurisdiction To Adjudicate plaintiff s Constitutional Claims.
       The November 14, 2016 Complaint alleges that the Govemment
                                                                   violated plaintiff s rights
under the Fourth Amendment, Eighth Amendmint, Fifth Amendment,s
                                                                    Due process and Double
Jeopardy clauses and the Fourteenth Amendment's Due process
                                                            clause. compl. at2,4,5, 6. .r-he
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  court does not have judsdiction to adjudicate claims based on the Fourth or Eighth Amendments,
  because neither is money-mandating. see Brown v. united states, 105 F.3d 621, 623 (Fed. cir.
  1997) (holding that a violation of the Fourth Amendment does not mandate the payment of
 money); see also Trafny v. united states, 503 F.3d 1339, l34o (Fed. cir. 2007) Qter curiam)
 (holding that the United States Court of Federal Claims does not have jurisdiction over claims
 arising under the Eighth Amendment because it is not money-mandating). Nor does the court have
 jurisdiction to adjudicate claims based on the Due Process or the Double Jeopardy Clauses.
                                                                                                      See
 smith v. united states, 709 F .3d I I 14, 1 I 16 (Fed. cir. 2013) ("The law is well settied that the Due
 Process Clauses of both the Fifth and Fourteenth Amendments do not mandate the payment of
 money and thus do not provide a cause of action under the Tucker Act."); see also Bernaugh v.
  United States,38 Fed. Cl. 538, 541 (1997) (determining that the courr does not have iurisdiition
 over Double Jeopardy claims because they are not money-mandating).

        For these reasons, the court has determined that it does not have jurisdiction to adjudicate
 the November 14,2016   complaint's Fourth Amendment, Eighth Amendment, Due process clause
 or Double Jeopardy Clause claims.

                         d,      The United States Court Of Federal Claims Does Not Have
                                 Jurisdiction To Adjudicate PlaintifPs Civit Rights Claims.
        The November 14, 2016 Complaint alleges violations under the Civil Rights Act of 1964
 and the ADA. compl. at 1,3, 4, 6. But, the court does not have jurisdiction ovlr claims arising
under the civil Rights Act. ,See Anderson v. unitetl states, 22 cl. c1. 17g, 179
                                                                                           n.2 (1990)
("Jurisdiction over such cases resides in the district courts relative
                                                                       to violations ofany provision
of the civil Rights Act."). In addition, the court does not have jurisdiction over        Abi  craims
because they are not money-mandating. searres v. united statei, gg Fed.
                                                                                  cl. g01, g05 (2009)
("The ADA is not a statute mandating payment by the United States.,,)

       For these reasons' the court has determined that     it does not have jurisdiction to adjudicate
the November 14,2016 Complaint's civil rights claims.

                        e.      The United States Court Of Federal Claims Does Not Have
                                Jurisdiction To Adjudicate plaintifps Lanham Act, Hobbs Act.
                                Or RICO Act Claims.
      The November 14,2016 Complaint alleges that the Government
                                                                 violated the Lanham Act,
Hobbs Act, and RICO Act. Compl. at2,4,5,6,7.

         The court, however, does not have jurisdiction over Lanham
                                                                        Act claims, because l 5 u. s.c.
         gt-"ltl exclusive jurisdiction to th; united States District court and territorial
 9-lJ?i                                                                                     courts. s'ee
 l5 U'S'c $ l12l(a) ("The district and territorial courts of the United States
jurisdiction and the courts ofappeal of the                                        shall have original
                                                united States (other than the united States coul of
Appeals for the Federal circuit) shall have appellate jurisdiction,
                                                                      ofall actions arisinf unoer  lthe
L,gftam Act.l"); see arso proxtronics Dosiieily Lic v. united
                                                                         states, r2g Fed. cr. 656, 672
(2016) ("It is an unremarkable proposition that the
                                                        Court of Federal Claims lacks jurlJi"iion ou",
         Act claims. congressional authorization to entertain claims arising
!d*
Act extends only to district and tenitorial courts.',.).
                                                                                     urra". G Lanham
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          In addition, the court does not have jurisdiction to adjudicate the November 14,2016
 Complaint's Hobbs Act or RICO Act claims, because the Hobbs Act and RICO Act are criminal
 statutes under United States Title 18, Crimes and Criminal Procedure. See Joshua v. United States,
 17 F.3d378,379 (Fed. Cir. 1994) ("The [United States Court of Federal Claims] has no jurisdiction
 to adjudicate any claims whatsoever under the federal criminal code[.]").

        For these reasons, the court has determined that it does not have jurisdiction to adjudicate
 the November 14,2016 Complaint's Lanham Act, Hobbs Act or RICO Act claims.

                         f.      The United States Court Of Federal Claims Does Not Have
                                 Jurisdiction To Review A Decision By The United States Court
                                 of Appeals For The Federal Circuit.
         The November 14,2016 Complaint also requests reconsideration of a different
                                                                                             complaint
 alleging an "assault on the Morgan family[,]" Plainiiff does allege any facts that identify
                                                                                               the case
of concem. Compl. at 6. The court, however, believes that the comilaint referred
                                                                                        to is Morgan,
No' 16-937' On October 24, 2016, the United States Court of Federal Claims dismissed
                                                                                                    the
complaint in Morgan, No. 16-937 for lack of subject-matter jurisdiction . see
                                                                                   Morgan, No. 16-
9.37 ECF. N.9. 13-. on appeal, the United States Court
     '                                                  of Appeals for the Federal Ciiuit affirmed
the court's dismissal. see Morgan, No. 16-937, ECF No. 2b. The
                                                                    court does not have jr,6isdiction
to review decisions of the United Slates court of Appeals for the Federal
                                                                           Circuit. See iilda In4us.,
Inc. v. united stares, 5il F.3d 1348, 1350 (Fed. cii. 2008) (,,ordinarily,
                                                                            the act orfiiing a notice
of appeal confers jurisdiction on an appellate court and divests the triai
                                                                           court ofiu.irai"'tron ou.'.
matters related to the appeal.',).

     For this reason, the court has determined that it does not have jurisdiction
                                                                                  to adjudicate the
November 14,2016 Complaint's request for reconsideration
                                                             of Mor[an,No. 16_937.
                        g.      The United States Court Of Federal Claims Does Not Have
                                Jurisdiction To Adjudicate plaintiff s Conspiracy To Commit
                                Fraud Claim.
        Plaintiffs claim that "the DEMoGRATIC NATIONAL coNVENTIoN
                                                                                 in consprracy to
the FEDERAL couRT of cLA IMS_plan to deny
                                                any claim[,]', was improperty raiseJin piaintifrs
May 2,2017 Response' see 35A c.l.s.
                                         tzoril g :lz 1"rurti"s
through briefing or oral advocac{. Thur, a comptaini
                                                                         um"na *ei. co.pruints
                                                         may not"arulot
                                                                    be amended by the iriefs in
opposition to a motion to dismiss[.]"). But, even if the
                                                         conspiracy-to-commif fraud claim             was
properly raised, the court must d-ismiss it for lack
                                                       of subject matter jurisdiction, because it sounds
in tort. Pl. Reply at 3. See Huffordv. United Stares,gZ
                                                              fea. Ct. eSe,nefZOOqii;if,. b"".t
Federal claims does not have jurisdiction over
                                                                                                      "f
                                                  . . . claims of fraud, . . . because these claims sound
in tort.").

        For these reasons, the court has determined that the
 ..
alleged in Plaintiff s May 2,2017 Response must
                                                             conspiracy-to-commilfraud craim
                                                 Ue aismissea.
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                         h.      Plaintiffs Fifth Amendment Takings Clause and CDA Claims
                                 Do Not State A Claim Upon Which Relief Can Be Granted.
        To the extent that the November 14,2016 Complaint alleges a Takings Clause claim or a
Breach-of-Contract claim, no facts are alleged from which the court can ascertain whether a
plausible claim for relief exists. Compl. a|4,5,6. The November 14,2016 Complaint states that
"no person shall be deprived oflife liberty or property without due process of law, nor shall private
property be taken for public use without just compensation." compl. at 5. Because the November
 14,2016 Complaint's Takings claim does not identify any property interest that was taken, rt must
be dismissed for failure to state a claim upon which relief can be granted. See Adsms v, lJnited
states,391 F.3d 1212,1218 (Fed. cir. 2004) (,,[A] claimant under ihe Takings clause must
                                                                                               show
that the govemment, by some specific action, took a private property inteiest for a public
                                                                                                  use
without just compensation."); see also Am. pelagic ttiihing co., i.p.-r. unitrd
                                                                                   stotes',379 F,3d
1363' 1372 (Fed. Cir. 2004) (explaining that as a threshold matter, a plaintiff allegini
                                                                                           a taking,
must allege a legally cognizable property interest or the court's determination
cannot continue)
                                                                                             i
                                                                                  of uilio tatins

        The November 14, 2016 complaint states that "the Defendants
                                                                                 have created multiple
breaches   of contract, by misconduct that continues[.]" compl. at 5. This Breach-of-contract
claim, however, does not alrege any of the requisite elementi
                                                                      of contract formation: (l) offbr,
@^acceptance, and (3) consideration. ,See Maier v. United States,314 F.3d 600;
2002) Nor does it identifu any express or implied contracts between plaintiffand          A; fted. Cir.
                                                                                       the Government.
Therefore, the November 14,2or5 compiaint's Breach-of-contract
                                                                              claim does not .,contain
sufficient factual matter, accepted as true, to 'state a claim
                                                                to reliefthat is plausible on it, fu.".,,,
Iqbal,556 U.S. at 679 (quoting Twombty,550 U.S. at
                                                          570j.
        For these reasons' the court has determined that the
                                                             Novem ber 14,2016 compraint,s
Taking clause and Breach-of-contract claims do
                                                  not state a claim upon which relief can be
granted.

IV.    CONCLUSION.

       For these reasons' the Government's January
                                                   13,20ri Motion To Dismiss is granted. sce
i!l%lfli?li,];.r2(bx6).
                           rhe crerk is directed     t;'",'t;,r;ls;;;;;ilJi"il"'N:#i,ue.  r+,

       IT IS SO ORDERED.

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                                                        SUSAN G. BRADEN,
                                                                                    -"t-'-



                                                        Chief Judge
